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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

BOULDER RIVER CAPITAL                  §
CORPORATION et al.,                    §
                                       §
            Plaintiff,                 §
                                       §
v.                                     §              1:20-CV-516-RP
                                       §                 (lead case)
NANO GLOBAL CORP.,                     §
                                       §
            Defendant.                 §
______________________________________________________________________________

DAVID & ANGELLA NAZARIAN                                §
FAMILY TRUST,                                           §
                                                        §
                 Plaintiff,                             §
                                                        §
v.                                                      §                     1:20-CV-519-RP
                                                        §
NANO GLOBAL CORP.,                                      §
                                                        §
                 Defendant.                             §

                                                   ORDER

        On August 10, 2020, the Court held an initial pretrial conference in Boulder River Capital

Corporation et al. v. Nano Global Corp., No. 1:20-CV-516-RP (W.D. Tex. filed May 13, 2020) and David

& Angella Nazarian Family Trust v. Nano Global Corp., No. 1:20-CV-519-RP (W.D. Tex. filed May 14,

2020). (Minute Entry, Dkt. 14). In light of the substantial overlap between the two cases, the Court

suggested that judicial economy might be served by consolidating them. All parties agreed.

        Federal Rule of Civil Procedure 42(a) permits a district court to consolidate “actions before

the court involv[ing] a common question of law or fact.” District courts have broad discretion in

determining whether to consolidate cases. See Mills v. Beech Aircraft Corp., 886 F.2d 758, 761–62 (5th

Cir. 1989). Consolidation is proper when it will avoid unnecessary costs or delay without prejudicing

the rights of the parties. See id.; St. Bernard Gen. Hosp., Inc. v. Hosp. Serv. Ass’n of New Orleans, Inc., 712

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F.2d 978, 989 (5th Cir. 1983). “A motion to consolidate is not required; the court may invoke Rule

42(a) sua sponte.” Miller v. U.S. Postal Serv., 729 F.2d 1033, 1036 (5th Cir. 1984); see also Auto-Dril, Inc. v.

Canrig Drilling Tech., Ltd., No. 6:15-CV-00096, 2015 WL 12780793, at *4 (W.D. Tex. June 29, 2015)

(explaining that “a court may order consolidation under Rule 42 sua sponte, including at the

objection of the parties, should the benefit of judicial economy outweigh other interests.”).

        For the reasons discussed at the initial pretrial conference, IT IS ORDERED that 1:20-CV-

519-RP is consolidated with and into 1:20-CV-516-RP, which will be the lead case.

         SIGNED on August 13, 2020.

                                                  _____________________________________
                                                  ROBERT PITMAN
                                                  UNITED STATES DISTRICT JUDGE




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